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                                                                       CENTRAL~STRICT OF CALIEORNLA
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                         UNITED STATES DISTRICT COURT
 s                      CENTRAL DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                       Case No.:      G~ 6~~ \U~— ~S~'_

11                         Plaintiff,

12             vs.                                    ORDER OF DETENTION AFTER HEARING
                                                        [Fed.R.Crim.P. 32.1(a) (6);
13                                                       18 U.S.C. 3143(a)]
                        MJ ~~"~
14
                           Defendant.
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18           The defendant having been arrested in this District pursuant to

19    a    warrant    issued    by   the   United         States   District     Court       for         the

20 1~2~'~a~ `~~~ti          C-~         for alleged violations) of the terms and

21    conditions of his/her [probation] [                  ~ervised release            nd

22           The   Court    having    conducted       a    detention   hearing        pursuant          to

23    Federal Rule of Criminal Procedure 32.1(a)(6) and 18 U.S.C. ~ 3143(a),

24           The Court finds that:

25    A.    (~       The defendant has not met his/her burden of establishing by

26           clear and convincing evidence that he/she is not likely to flee

27           if released under 18 U.S.C.          ~   3142(b) or (c)           This finding is

28           based on      C~ ~{~ ~-t"~'~t ~..~`r'~ l~~C p~~` C~ o~~iC c1"~~C ~         c,~~!~-a~,wt- S
                           lc~l~ r1'~ S~ L 4-                      -j ArYY l aC
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      Case 2:07-cr-01079-DSF Document 1709 Filed 11/17/21 Page 2 of 2 Page ID #:13481




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4            and/or

 5     B.    ( )   The defendant has not met his/her burden of establishing by

 6           clear and convincing evidence that he/she is not likely to pose

 7           a danger to the safety of any other person or the community if

 8           released under 18 U.S.C. ~ 3142(b) or (c).        This finding is based

 9           on:

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14~          IT THEREFORE IS ORDERED that the defendant be detained pending

15 '1 the further revocation proceedings.

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17, Dated:            ~ ~ ` 1~C~ N

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